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                                                                            2020R00251



 UNITED STATES DISTRICT COURT                         20-mj-365 HB
                                           ss

COUNTY OF RAMSEY



                                    AFFIDAVIT
    I, Laura Gulick, being first duly sworn, hereby depose and state as follows:

                INTRODUCTION AND AGENT BACKGROUND

      1.     I am employed as a Special Agent with the Bureau of Alcohol Tobacco &

Firearms (ATF), and have been so employed since September 2014. I am currently

assigned to the St. Paul Division. The mission of the ATF is to protect communities

from violent criminals, criminal organizations, the illegal use and trafficking of

firearms, the illegal use and storage of explosives, acts of arson and bombings, and

other crimes. I have graduated from the 26-week combined Criminal Investigator

Training Program at the Federal Law Enforcement Training Center, and the Special

Agent Basic Training at the ATF National Academy. I have successfully completed

courses in criminal investigations, tactical training in executing searches of persons

and premises, courses in federal firearms violations, federal arson laws, federal

explosives laws, and other general investigative matters. In my capacity as an ATF

agent, my responsibilities include, but are not limited to, investigating violation of

federal laws related to weapons and violent crime under Titles 18 and 26 of the

United States Code.

      2.     Before joining the ATF, I was employed as an Intelligence Research

Specialist for Homeland Security Investigations for 8 years. As an Intelligence

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